           Case 1:20-cv-00039-NDF Document 20 Filed 08/21/20 Page 1 of 2
                                                                                            FILED




                     IN THE UNITED STATES DISTRICT COURT
                                                                                         1:19 pm, 8/21/20

                           FOR THE DISTRICT OF WYOMING                                Margaret Botkins
                                                                                       Clerk of Court

    VERONICA LOWE and CURTIS
    LOWE,

                 Plaintiffs,
    vs.                                                       Case No. 20-CV-88-F

    RENNY HARVEY and DERRICK
    JOSEPH,

                 Defendants.


     ORDER GRANTING DEFENDANTS’ MOTION TO CONSOLIDATE CASES


          This matter comes before the Court on Defendants’ Motion to Consolidate, filed on

August 6, 2020. (CM/ECF Document [Doc.] 5). 1 The Court having reviewed the pleadings

and being fully informed in the premises finds that these two cases should be consolidated

for all purposes.

          Pursuant to Federal Rule of Civil Procedure 42(a), the Court may consolidate

actions involving common questions of law or fact. FED. R. CIV. P. 42(a). Here, Defendants

seek to consolidate this case with a second related case pending before the Court in which

Defendant Renny Harvey is a plaintiff and counter-defendant: Harvey et al. v. Killpack

Trucking, Inc., Case No. 1:20-CV-39-NDF (D. Wyo. 2020). Both the above-captioned case




1
 Plaintiffs’ counsel did not respond to Defendants’ multiple requests for conferral on this motion
and did not file a response to the motion.
         Case 1:20-cv-00039-NDF Document 20 Filed 08/21/20 Page 2 of 2




and Harvey et al. v. Killpack Trucking, Inc. arise from the same trucking accident and

involve the same issues of law. Therefore, the Court concludes consolidation pursuant to

Rule 42(a) is appropriate.

       Accordingly, IT IS ORDERED the above-captioned case and the case of Harvey et

al. v. Killpack Trucking, Inc., Case No. 1:20-cv-00039-NDF are consolidated for all

purposes. Harvey et al. v. Killpack Trucking, Inc., Case No. 1:20-cv-00039-NDF shall be

the lead case in which all pleadings are to be docketed until further order of this Court.

       Dated this     day of August, 2020.




                                   NAN
                                   NANCY
                                     NCY D.
                                         D FREUDENTHAL
                                            FREUDENTH
                                   UNITED STATES DISTRICT JUDGE




                                              2
